
977 So.2d 940 (2008)
STATE ex rel. James LANGENDORFER
v.
STATE of Louisiana.
No. 2007-KH-1975.
Supreme Court of Louisiana.
March 18, 2008.
In re Langendorfer, James;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Caddo, 1st Judicial District Court Div. I, No. 110,345.
Relator represents that the district court has failed to act timely on a motion to correct an illegal sentence filed on or about May 30, 2007. If relator's representation is correct, the district court is ordered to consider and act on the motion. If relator's representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this court with a copy of its judgment.
